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lN THE UNITIED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
(Greenbelt Division)

LORI KOONTZ, R.N.
1 1326 Williamsport Pike
Greencastle, PA 17225

Plaintiff,
v .

RADIOLOGISTS ON CALL, LLC
20410 Observation Drive, Suite 104
Germantown, MD 20876
Serve: Registered Agent
AP Corporate Services, Inc.
Suite 220
1700 Research Boulevard
Rockville, MD 20850

Civil Action No.
JURY TRIAL DEMANDED

and

VIRTUAL RADIOLOGIC CORPORATION
11995 Singletree Lane, Suite 500
Eden Prarie, MN 55344
SERVE: Registered Agent
The Corporation Trust Company
1209 Orange Street
Wilrnington, DE 19801

and

IRA M. TYLER, M.D.

c/o Virtual Radiologic Corporation
11995 Singletree Lane, Suite 500
Eden Prairie, MN 55344

and

BRUCE J. BORTNICK, M.D.

c/o Shady Grove Radiological
Consultants, P.C.

20410 Observation Drive, Suite 104
Germantown, MD 20876

and

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SHADY GROVE RADIOLOGICAL
CONSULATANTS, P.C.

20410 Observation Drive, Suite 104
Germantown, MD 20876

and

SHADY GROVE ADVENTIST HOSPITAL
9901 Medical Drive
Rockville, MD 20850

and

ADVENTIST HEALTHCARE, INC.
1801 Research Boulevard, Suite 300
Rockville, MD 20850

Serve: Registered Agent

Kenneth B. DeStefano, Esq.

1801 Research Boulevard

Rockville, MD 20850

Defendants.

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_C_Q_I\M
(Negligence/Medical Malpractice)

COMES NOW the Plaintiff, Lori Koontz, R.N., by and through counsel, Bruce J. Klores,
Scott M. Perry, and Klores Perry Mitchell, P.C., and for her complaint against the Defendants,
alleges as follows:

JURISDICTION AND VENUE

l. The Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §
1332, because there is complete diversity of citizenship between the Plaintiff and the Defendants
and the amount in controversy exceeds $75,000.00, exclusive of interests and costs.

2. The Court is the proper venue for this case under 28 U.S.C. § 1391 because a
substantial part of the events or omissions giving rise to the claim occurred in this judicial

district

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3. This action is filed within the relevant statute of limitations
THE PARTIES
4. Plaintiff Lori Koontz, R.N., is a citizen (resident) of the Commonwealth of

Pennsylvania. Ms. Koontz is a registered nurse who works for Defendant Adventist Healthcare
lnc., d/b/a Shady Grove Adventist Hospital (collectively, “Shady Grove”).

5. Defendant Radiologists On Call, LLC, is a Maryland LLC with its principal
places of business located in the state of Maryland, and at all relevant times was engaged in the
business of providing health care and provided health care to the Plaintiff.

6. Defendant Virtual Radiologic Corporation is a Delaware corporation with its
principal place of business in the state of Minnesota, and at all relevant times was engaged in the
business of providing health care and provided health care to the Plaintiff.

7. Defendant Ira M. Tyler, M.D., is a physician licensed in the state of Maryland
employed by Defendant Virtual Radiologic Corporation with his primary place of business in the
state of Minnesota, and at all relevant times Was engaged in the business of providing health care
and provided health care to the Plaintiff.

8. Defendant Bruce J. Bortnick, M.D., is a physician licensed in the state of
Maryland With his principal place of business in the state of Maryland, and at all relevant times
was engaged in the business of providing health care and provided health care to the Plaintiff.

9. Defendant Shady Grove Radiological Consultants, P.C., is a Maryland
corporation with its principal place of business in the state of Maryland, and at all relevant times
was engaged in the business of providing health care and provided health care to the Plaintiff.

10. Defendant Adventist Healthcare, Inc. d/b/a Shady Grove Adventist Hospital, is a

Maryland corporation with its principal place of business in the state of Maryland, and at all

 

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relevant times was engaged in the business of providing health care and provided health care to
the Plaintiff.
THE FACTS

11. At all times of Which Plaintiff complains, the Defendants, individually, and acting
through agents, servants and employees, represented to Plaintiff and to the general public that
they possessed the knowledge, skill and ability of reasonably competent medical practitioners,
practicing under the same or similar circumstances

12. A health care provider/patient relationship existed between the Defendants, their
agents, servants and employees and Plaintiff at all relevant times therein. The Defendants owed
Plaintiff a duty to conform their care to the standards of a reasonably prudent practitioner acting
under the same or similar circumstances

13. At all times mentioned herein, the Defendants, individually or via agents, servants
and employees acting within the scope of their employment, provided medical treatment to, or
were responsible for providing medical treatment to, the Plaintiff.

14. Ms. Koontz is a registered nurse who works for Defendant Shady Grove. On July 8,
2010, Ms. Koontz presented at Shady Grove’s Emergency Department complaining of severe
abdominal pain and fever.

15. A CT Scan, among other tests, was ordered. The CT Scan was read via tele-
radiology by Defendant Ira Tyler, M.D., a radiologist, on July 9, 2010 at 5:20 a.m. Dr. Tyler
misread the CT Scan, reporting that Ms. Koontz suffered from diverticulitis, but had no
abscesses.

16. The Emergency Department physician relied on Dr. Tyler’s misreading and

discharged Ms. Koontz shortly thereafter.

 

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l7. After Ms. Koontz had been discharged, Defendant Bruce J. Bortnick, M.D., a
radiologist, reviewed Mrs. Koontz’s CT Scan. He found that in addition to diverticulitis, Ms.
Koontz had a 4.2 cm x 3.3 cm colon abscess Dr. Bortnick issued a report detailing his findings

18. None of the Defendants contacted Ms. Koontz to inform her that the CT Scan had
been misread. None of the Defendants contacted Ms. Koontz to inform her that she had a colon
abscess.

19. On July 21 . 2010, Ms. Koontz again presented at Shady Grove’s Emergency
Department in extreme abdominal pain. The colon abscess that the Defendants had failed to
diagnose and treat had ruptured.

20. As a result of the ruptured abscess, Ms. Koontz underwent multiple surgeries,
including a colon resection.

21. As a result of the Defendants’ negligence, Ms. Koontz has suffered serious and
permanent physical inj uries, emotional distress, mental pain and suffering and significant
financial losses

COUNT I
(MEDICAL MALPRACTICE)

22. Plaintiff hereby incorporates all previous paragraphs
23. The Defendants departed from the standard of care by:
a. misdiagnosing Plaintiffs condition;
b. misreading radiological tests;
c. failing to notify Plaintiff when their mistake was discovered;
d. failing to properly diagnose and treat;
e. failing to have policies in place for notifying patients of medical errors, or

misreads or other corrections to medical records;

 

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f. failing to follow policies (if in place) for notification to patients;
g. failing to prevent abscess rupture; and
h. were otherwise negligent
24. As a direct and proximate result of the above-described negligence of the
Defendants, Plaintiff has suffered, and Will continue to suffer permanent injuries
25. Plaintiff was in no way contributorily negligent
26. Absent the above-described negligence of the Defendants, the Plaintiff would have
lived a normal, healthy and fulfilling life.
WHEREFORE, Plaintiff demands judgment against the Defendants in an amount in
excess of the jurisdictional limit and for all other relief deemedjust and proper.

COUNT II
(Negligence)

27. Plaintiff hereby incorporates all previous paragraphs

28. As a direct result of the above-described negligence of the Defendants, Plaintiff has
suffered, and will continue to suffer, permanent injuries

29. The Plaintiff Was in no way contributorily negligent

30. Absent the above-described negligence of the Defendants, the Plaintiff would have
lived a normal, healthy and fulfilling life.

WHEREFORE, Plaintiff demands judgment against the Defendants in an amount in

excess of the jurisdictional limit and for all other relief deemed just and proper.

 

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Respectfully submitted,

KLORES PERRY MITCHELL, P.C.

%,¢/

By¢/e J. Klor¢§/(#03320)
scott M. Perry (#14763)
1735 20th Street, N.W.
Washington, D.C. 20009
P; (202) 628-8100
Counsel for Plaintiff

Plaintiff demands a trial by jury.

  

1992/complaint

 

